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                              UNITED STATES BANKRUPTCY COURT
                               NORTHERN DISTRICT OF GEORGIA
                                      ATLANTA DIVISION


IN RE:                                                        CASE NO. 15-54368-LRC
                                                              CHAPTER 13
DANA MORRELL HARRIS-ABRAHAM
                                                              JUDGE LISA RITCHEY CRAIG

         DEBTOR                                               NOTICE OF FINAL CURE PAYMENT


    Pursuant to Federal Rule of Bankruptcy Procedure 3002.1(f), the Chapter 13 Trustee, Melissa J.
Davey files this Notice of Final Cure Payment. The amount required to cure the default in the claim listed
below has been paid in full.

Name of Creditor: INA GROUP, LLC




Final Cure Amount

Court   Account                                   Claim              Claim                Amount
Claim # Number                                    Asserted           Allowed              Paid

  6-2                                             $4,796.59          $4,796.59            $4,796.59

Total Amount Paid by Trustee                                                              $4,796.59



Monthly Ongoing Mortgage Payment

Mortgage is Paid:

    Through the Chapter 13 Conduit                     X Direct by the Debtor



    Within 21 days of the service of the Notice of Final Cure Payment, the creditor MUST file and serve
a Statement as a supplement to the holder’s proof of claim on the Debtor, Debtor's Counsel and the
Chapter 13 Trustee, pursuant to Fed.R.Bank.P.3002.1(g), indicating 1) whether it agrees that the Debtor
has paid in full the amount required to cure the default on the claim; and 2) whether the Debtor is
otherwise current on all payments consistent with 11 U.S. C. § 1322(b)(5).

    The statement shall itemize the required cure or post-petition amounts, if any, that the holder contends
remain unpaid as of the date of the statement. The statement shall be filed as a supplement to the
holder’s proof of claim and is not subject to Rule 3001(f). Failure to notify may result in sanctions.

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                                                                               CASE NO. 15-54368-LRC


                                    CERTIFICATE OF SERVICE

       This is to certify that I have on this day electronically filed the foregoing Notice of Final Cure
Payment using the Bankruptcy Court’s Electronic Case Filing program, which sends a notice of this
document and an accompanying link to this document to the following parties who have appeared in this
case under the Bankruptcy Court’s Electronic Case Filing program:

Virginia B. Bogue vbogue@hwkllp.com
Craig Andrew Edelman craig.edelman@bonialpc.com
Sheila M. Govan govan1@bellsouth.net,
govan.crystal@gmail.com;govan_govan@bellsouth.net;GovanSR93575@notify.bestcase.com
A. Michelle Hart Ippoliti Michelle.ippoliti@mccalla.com,
bankruptcyecfmail@mccalla.com;mccallaecf@ecf.courtdrive.com
Brian K. Jordan ecfganb@aldridgepite.com, bjordan@ecf.inforuptcy.com

         I further certify that on this day I caused a copy of this document to be served via United States
First Class Mail with adequate postage prepaid on the following parties at the address shown for each:

DANA MORRELL HARRIS-ABRAHAM
1739 S. HIDDEN HILLS PARKWAY
STONE MOUNTAIN, GA 30088

INA GROUP, LLC
6333 APPLES WAY
SUITE 115
LINCOLN, NE 68516




Filed Date: May 04, 2020

                                                              /s/ Melissa J. Davey
                                                              Melissa J. Davey
                                                              GA Bar No. 206310
                                                              Chapter 13 Trustee
                                                              Standing Chapter 13 Trustee
                                                              260 PEACHTREE STREET N.W.
                                                              SUITE 200
                                                              Atlanta, GA 30303
                                                              Telephone: 678-510-1444
                                                              Facsimile: 678-510-1450
